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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

          v.                                  04-CR-189-A (17)

JUSTIN PALMER,

                 Defendant.




                      ORDER FORFEITING FIREARM



     WHEREAS, based upon the Plea Agreement entered into between

the defendant, JUSTIN PALMER, and the Government on or about May

11, 2006, the defendant agreed to the entry of an Order of

Forfeiture against the following property:


     a.   One Remington 12      gauge shotgun, bearing serial
          number T729747V,      and approximately 62 shotgun
          shells; and

     b.   One Kel Tech 9 millimeter rifle, bearing serial
          number 10036, one Kel Tech rifle box with serial
          number 10036, and approximately 30 9-millimeter
          rounds.


     NOW THEREFORE, it is hereby;



     ORDERED, ADJUDGED and DECREED, that pursuant to Title 18,

United States Code, Section 924(d) and 3665 and New York State

Penal Law, Section 400.05, the above-described property is hereby

condemned and forfeited to the United States of America and the
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Buffalo Police Department shall dispose of said property according

to law.


           IT IS SO ORDERED.
                                  /s/   Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT

DATED: July 14     , 2006




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